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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                     CR NO. 17-00101 LEK
                                           
                    Plaintiff,
                                              ORDER DENYING DEFENDANT’S
             vs.                              MOTION FOR ORDER OF
                                              CONTEMPT AGAINST THE
ANTHONY T. WILLIAMS (1),
                                              FEDERAL BUREAU OF
                    Defendant.                INVESTIGATION



                                              Trial: None set
                                           

 

       ORDER DENYING DEFENDANT’S MOTION FOR ORDER OF
    CONTEMPT AGAINST THE FEDERAL BUREAU OF INVESTIGATION

      This matter comes before the Court upon consideration of Defendant

Anthony Williams’s (“Defendant”) Motion for Order of Contempt Against the

Federal Bureau of Investigation (“Motion”). ECF No. 363. The United States of

America (“Government”) responded to and opposes the Motion. See ECF No. 387.

Having considered the parties’ pleadings, relevant legal authority, and having had

the benefit of oral argument, the Court HEREBY DENIES the Motion.
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                                BACKGROUND

      On February 22, 2018, the clerk issued a subpoena to Defendant for service

to the “Custodian of Records, Federal Bureau of Investigation, 91-1300 Enterprise

Street, Kapolei, HI 96707.” ECF No. 363-2. The subpoena sought eight

categories of documents:

      1) All the letters and documents sent to (or by) the FBI by (or to) Anthony
         T. Williams concerning himself, the (CLOA) Common Law Office of
         America or United States Office of the Private Attorney General
         (USOPAG) concerning Mr. Williams’ business practices, including but
         not limited to information indicating that nothing fraudulent was done
         nor intended by Mr. Williams or CLOA, USOPAG and MEI [Mortgage
         Enterprise Investments].

      2) Internal memos about Mr. Williams, including records regarding [sic]
         contained in cell phones, laptops and computers.

      3) Memoranda, notifications, policies, training program materials, rules and
         other writings or directives in effect during February 15, 2017, describing
         the practices or procedures to be used when investigating persons
         suspected of mail and wire fraud.

      4) All letters and documents from the Federal Bureau of Investigation
         addressed to CLOA [Common Law Office of America], USOPAG
         [United States Office of the Private Attorney General], and MEI
         [Mortgage Enterprise Investments] and Anthony T. Williams.

      5) Any secret wire taps, audio or videos recordings of Anthony T. Williams
         and employees of CLOA [Common Law Office of America], USOPAG
         [United States Office of the Private Attorney General], and MEI
         [Mortgage Enterprise Investments].

      6) These records are specifically requested from the FBI main and field
         offices in:
            a. Washington, D.C.
            b. Miami, Florida

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             c. Honolulu, Hawaii
             d. Killeen, Texas
             e. Nashville, Tennessee

      7) Records of FBI Agent Jamie Lynn Stranahan, Miami, Florida:
           a. Records of Anthony T. Williams visiting the FBI offices, and
              complaints made by Mr. Anthony T. Williams.
      8) Records of FBI Agent Joseph Lavelle, Miami, Florida.
           a. Records of Anthony T. Williams being the subject of investigation
              and any complaints from consumers against Mr. Williams for
              fraud.

Id. Following service of the subpoena, the Federal Bureau of Investigation (“FBI”)

attempted to engage Defendant’s standby counsel, Lars Isaacson, regarding the

records sought by the subpoena. ECF No. 380-1. The Government asserts that

while it was meeting and conferring with Mr. Isaacson and making its document

production, Defendant filed the instant Motion.

                                   DISCUSSION

      Rule 17(c) of the Federal Rules of Criminal Procedure provides a process

through which federal courts can issue subpoenas duces tecum for the production

of evidence before trial. Where evidence relevant to guilt or punishment is in a

third party’s possession and is necessary for the defendant to adequately review

prior to trial, pre-trial production through Rule 17(c) is necessary to preserve the

defendant’s constitutional right to obtain and effectively use such evidence at trial.

See United States v. Murray, 297 F.2d 812, 821 (2d Cir. 1962) (holding that Rule

17(c) permits pretrial production if it is necessary for the moving party to use the



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material as evidence at trial), cert. denied, 369 U.S. 828 (1962). Accordingly, a

party may subpoena a witness to compel the production of “any books, papers,

documents, data, or other objects the subpoena designates.” Fed. R. Crim. P.

17(c).

         Rule 17(c) also authorizes a federal district court to “quash or modify the

subpoena if compliance would be unreasonable or oppressive.” Nevertheless, it is

well settled that Rule 17(c) is “not intended to provide a means of discovery for

criminal cases.” United States v. Nixon, 418 U.S. 683, 698 (1974). Rule 17(c)

subpoenas are intended to “expedite the trial by providing a time and place before

trial for the inspection of the subpoenaed materials.” Bowman Dairy Co. v. United

States, 341 U.S. 214, 220 (1951). Should the recipient of a subpoena, “without

adequate excuse, disobey[] a subpoena issued by a federal court in that district,”

the court may hold that recipient in contempt. Fed. R. Crim. Proc. 17(g). For a

recipient to be held in contempt, however, the subpoena must be valid in its

entirety. Bowman Dairy Co., 341 U.S. at 221; In re Grand Jury Subpoena, 829

F.2d 1291, 1293 (4th Cir. 1987).

         In Nixon, the Supreme Court held that pretrial production pursuant to Rule

17(c) is only appropriate where it is shown that: (1) the documents are evidentiary

and relevant; (2) they are not otherwise procurable, with due diligence, in advance

of trial; (3) the party cannot properly prepare for trial without such production and



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inspection in advance of trial; and (4) the application was made in good faith and is

not a fishing expedition. 418 U.S. at 699. The decision whether to issue or

enforce a subpoena is left to the discretion of the district court. Id. at 702

(“Enforcement of a pretrial subpoena duces tecum must necessarily be committed

to the sound discretion of the trial court since the necessity for the subpoena most

often turns upon a determination of factual issues.”).

      Here, Defendant fails to demonstrate the relevancy, admissibility or

specificity of the broad categories of the documents sought. United States v. Reed,

726 F.2d 570, 577 (9th Cir. 1984) (“[Rule] 17(c) requires a showing of relevancy,

admissibility, and specificity to support the issuance of a subpoena duces tecum.”).

In fact, Defendant is not seeking specific, relevant and admissible documents, but

is instead trying to obtain entire files of documents from six different FBI offices.

Rule 17(c), though, was not intended as a discovery device, or to “allow a blind

fishing expedition seeking unknown evidence.” United States v. MacKey, 647

F.2d 898, 901 (9th Cir. 1981). Likewise, a defendant’s “mere hope” that the

documents will produce favorable evidence will not support the issuance of a

subpoena. United States v. Hang, 75 F.3d 1275, 1283 (8th Cir. 1996).

      The Court finds that Defendant is improperly attempting to obtain broad

discovery from the Government with a subpoena. The Court therefore DENIES




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Defendant’s October 29, 2018 Motion for Order of Contempt Against the Federal

Bureau of Investigation.

      IT IS SO ORDERED.

      DATED: Honolulu, Hawai‘i, November 23, 2018.


                                /S/ Kenneth J. Mansfield
                               Kenneth J. Mansfield
                               United States Magistrate Judge




United States v. Williams, CR NO. 17-00101 LEK; ORDER DENYING DEFENDANT’S
MOTION FOR ORDER OF CONTEMPT AGAINST THE FEDERAL BUREAU OF
INVESTIGATION




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